         Case: 14-17175, 04/16/2015, ID: 9499132, DktEntry: 24, Page 1 of 1

                                                                           FILED
                    UNITED STATES COURT OF APPEALS                            APR 16 2015

                                                                        MOLLY C. DWYER, CLERK
                            FOR THE NINTH CIRCUIT                         U.S. COURT OF APPEALS




STEVE K. WILSON BRIGGS,                         No. 14-17175

              Plaintiff - Appellant,            D.C. No. 4:13-cv-04679-PJH
                                                Northern District of California,
 v.                                             Oakland

SONY PICTURES ENTERTAINMENT,
INC.; et al.,                                   ORDER

              Defendants - Appellees.



      Appellees’ motion to transmit a copy or replication of a physical exhibit is

granted. See 9th Cir. R. 27-14.

                                             FOR THE COURT

                                             MOLLY C. DWYER
                                             CLERK OF COURT

                                             By: Jennifer Nutt
                                                 Deputy Clerk
